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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

WILLIAM M. STEPHENS,              )
                                  )
     Plaintiff,                   )
                                  )
     v.                           ) No. 18-CV-01546
                                  )
SELECT PORTFOLIO SERVICING, INC., )
                                  )
     Defendant.                   )

SELECT PORTFOLIO SERVICING, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT

         Defendant Select Portfolio Servicing, Inc. (“SPS”), by its attorneys Jason D. Altman of

Kluever & Platt, LLC, and for its answer to plaintiff’s complaint, states as follows:

                               PARTIES, JURISDICTION, AND VENUE

         1.        Upon information and belief, admitted.

         2.        SPS lacks sufficient information, knowledge or belief to form an opinion as to the

truthfulness of the allegations of paragraph 2.

         3.        SPS admits the allegations of paragraph 3 except denies that the Mortgage

“purportedly” secures the Note since the Mortgage secures the Note.

         4.        Admitted.

         5.        Upon information and belief, admitted.

         6.        Denied.

                             INTRODUCTION AND BASIS FOR RELIEF

         7.        Denied.

         8.        Admitted.

         9.        Admitted.



[SPSL.0457/360144/1]                               1
 
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         10.       SPS lacks sufficient information, knowledge or belief to form an opinion as to the

truthfulness of the allegations of paragraph 10.

         11.       Admitted.

         12.       Denied.

                   STEPHENS’ FINANCIAL DIFFICULTIES, FORECLOSURE
                         AND ATTEMPTS TO MODIFY HIS LOAN

         13.       Upon information and belief, admitted.

         14.       Admitted.

         15.       Admitted.

         16.       Admitted.

         17.       Admitted.

         18.       Admitted.

         19.       SPS admits that on May 2, 2017, SPS received the following documents: a

document from William Stephens stating that “I own 100% of the company as listed in my tax

returns.”; a copy of William Stephens’ 2015 federal tax return; and six pages of documents from

Chadwick and Company, CPAs, P.C. concerning tax extension forms. SPS denies the remaining

allegations of paragraph 19.

         20.       Admitted.

         21.       Denied.

         22.       SPS denies the allegations of the first sentence of paragraph 22. SPS admits the

allegations of the second and third sentences of paragraph 22. SPS denies the remaining

allegations of paragraph 22

       STEPHENS’ ATTEMPTS TO HAVE ERRORS CORRECTED AND HIS LOSS
             MITIGATION APPLICATION PROPERLY EVALUATED



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         23.       Admitted.

         24.       Admitted.

         25.       Admitted.

         26.       SPS admits that on May 23, 2017, it received a seven-page Making Home

Affordable Program Request for Mortgage Assistance form allegedly signed by William

Stephens on May 18, 2017.Admitted. SPS admits the allegations of the last sentence of

paragraph 26.

         27.       Admitted.

         28.       Admitted.

         29.       Admitted.

         30.       Admitted.

         31.       Admitted.

         32.       Admitted.

         33.       Denied.

         34.       SPS admits that Stephens, through his counsel, sent correspondence to SPS as

described in the first sentence of paragraph 34. SPS admits the allegations of the second sentence

of paragraph 34. SPS denies the remaining allegations of paragraph 34.

         35.       Admitted.

         36.       Admitted.

         37.       Admitted.

         38.       Admitted.

         39.       Admitted.

         40.       Admitted.



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         41.       Admitted.

                                      DAMAGE TO STEPHENS

         42.       SPS lacks sufficient information, knowledge or belief to form an opinion as to the

truthfulness of the allegations of paragraph 42.

         43.       Denied.

         44.       Upon information and belief, admitted.

                                        COUNT ONE
                               VIOLATION OF 12 C.F.R. § 1024.41(g)


         45.       SPS restates its answers to paragraphs 1 through 44 as its answer to paragraph 45.

         46.       Admitted.

         47.       Admitted.

         48.       Admitted.

         49.       Admitted.

         50.       Admitted.

         51.       Admitted.

         52.       Denied.

         53.       Admitted.

         54.       Denied.

         55.       SPS denies the allegations of paragraph 55 and specifically denies that 12 C.F.R.

§ 1024.41(b)(10) is a provision of the Code of Federal Regulations.

         56.       Denied.

         57.       Denied.

         58.       Denied.



[SPSL.0457/360144/1]                                4
 
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         WHEREFORE, defendant Select Portfolio Servicing, Inc. moves that this Court enter

judgment in its favor and against the plaintiff on Count One of plaintiff’s complaint, and award

SPS its costs of suit.

                                         COUNT TWO
                           MULTIPLE VIOLATIONS OF 12 C.F.R. § 1024.41(b)

         59.       SPS restates its answers to paragraphs 1 through 44 as its answer to paragraph 59.

         60.       Admitted.

         61.       Admitted.

         59.       [sic]     Admitted.

         60.       Admitted.

         61.       Admitted.

         62.       Admitted.

         63.       Admitted.

         64.       Admitted.

         65.       Admitted.

         66.       Admitted.

         67.       Admitted.

         68.       SPS admits that on May 2, 2017, SPS received the following documents: a

document from William Stephens stating that “I own 100% of the company as listed in my tax

returns.”; a copy of William Stephens’ 2015 federal tax return; and six pages of documents from

Chadwick and Company, CPAs, P.C. concerning tax extension forms. SPS denies the remaining

allegations of paragraph 68.

         69.       Admitted.

         70.       Admitted.


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         71.       Denied.

         72.       SPS admits that on May 23, 2017, plaintiff, through counsel, provided

Submission #3 to SPS through Foreclosure Counsel. SPS lacks sufficient information,

knowledge or belief to form an opinion as to the truthfulness of the remaining allegations of

paragraph 72.

         73.       Admitted.

         74.       Admitted.

         75.       SPS admits that SPS received information that the plaintiff was self-employed.

SPS denies the remaining allegations of paragraph 75.

         76.       SPS admits that on May 26, 2017, SPS mailed correspondence to the plaintiff as

set forth in plaintiff’s exhibit 12. SPS denies the remaining allegations of paragraph 76.

         77.       SPS admits that on June 22, 2017, plaintiff, through counsel, provided

Submission #4 to SPS. SPS lacks sufficient information, knowledge or belief to form an opinion

as to the truthfulness of the remaining allegations of paragraph 77.

         78.       SPS admits that it received a letter from the plaintiff dated June 19, 2017, a RMA

form and a copy of a May 24, 2017 letter from SPS to the plaintiff. SPS denies the remaining

allegations of paragraph 78.

         79.       Denied.

         80.       Denied.

         81.       Denied.

         82.       Denied.




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         WHEREFORE, defendant Select Portfolio Servicing, Inc. moves that this Court enter

judgment in its favor and against the plaintiff on Count Two of plaintiff’s complaint, and award

SPS its costs of suit.

                                       COUNT THREE
                           MULTIPLE VIOLATIONS OF 12 C.F.R. § 1024.35

                        (Failure to perform reasonable investigations into the error
                              alleged through NOE #1, NOE #2, and NOE #3)

         83.       SPS restates its answers to paragraphs 1 through 44 as its answer to paragraph 83.

         84.       Admitted.

         85.       Admitted.

         86.       Admitted.

         87.       Admitted.

         88.       Admitted.

         89.       Admitted.

         90.       Denied.

         91.       Admitted.

         92.       Denied.

         93.       Admitted.

         94.       Upon information and belief, admitted.

         95.       Admitted.

         96.       Admitted.

         97.       Admitted.

         98.       Denied.




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         99.       SPS admits that on June 22, 2017, plaintiff, through counsel, sent NOE #2 to SPS.

SPS denies the remaining allegations of paragraph 99.

         100.      Upon information and belief, admitted.

         101.      Admitted.

         102.      Admitted.

         103.      Admitted.

         104.      Denied.

         105.      Admitted.

         62.       [sic]   Denied.

         63.       Admitted.

         64.       Upon information and belief, admitted.

         65.       Admitted.

         66.       Admitted.

         106.      [sic]   Denied.

         107.      Denied.

         108.      Denied.

         109.      Denied.

         110.      Denied.

         WHEREFORE, defendant Select Portfolio Servicing, Inc. moves that this Court enter

judgment in its favor and against the plaintiff on Count Three of plaintiff’s complaint, and award

SPS its costs of suit.

                                                SELECT PORTFOLIO SERVICING, INC.

                                                By: /s/ Jason D. Altman_____________________
                                                       One of its attorneys


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